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UNITED STATES BANKRUP'I`CY COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

ln Re:
LISA DUTTON LOVE, Case No. 6: l9-bk-01568-CC]
Chapter 7
Debtor

f

 

MOTION FOR RELIEF FROM AUTOMATIC STAY
NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in
this paper without further notice or hearing unless a party in interest files a
response within twenty-one (21) days from the date set forth on the attached proof

of service, plus an additional three days for service if any party was served by U.S.
Mail.

If you object to the relief requested in this paper, you must file a response
with the Clerk of the Court at George C. Young Federal Courthouse, 400 W.
Washington Street, Suite 5100, Orlando, Florida 32801 and serve a copy on the
movant's attorney, Stefan Beuge, Esq., Florida Bar No. 68234 of Phelan Hallinan
Diamond & .Iones, PLLC, 2001 NW 64th Street, Suite 100, Ft. Lauderdale, FL
33309, and any other appropriate persons within the time allowed. If you file and
serve a response within the time permitted, the Court will either schedule and notify
you of a hearing, or consider the response and grant or deny the relief requested
without a hearing.

If you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief requested in the paper, will proceed to
consider the paper without further notice or hearing, and may grant the relief
requested.

By and through its undersigned counsel, Phelan Hallinan Diamond & Jones, PLLC, U.S.
Bank Trust, N.A., as Trustee for LSFll Master Participation Trust (“Movant”), its successors

and/or assigns, a secured creditor of the above-referenced Debtor, hereby moves the Court for an

Order granting relief from stay pursuant to ll U.S.C. §362(d) and states:

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1. This Court has jurisdiction over these matters pursuant to 28 U.S.C. §1334 and 28 U.S.C.
§157(\3)(2)((3)-

2. On March 12, 2019, the Debtor filed a Voluntary Petition under Chapter 7 of the
Bankruptcy Code.

3. Upon information and belief, the Debtor has not claimed the Property as exempt.

4. The property located at 24700 WALKABOUT RANCH ROAD, SORRENTO, FL 32776
(hereinafter, the "Property") is legally described as follows:

THE LAND REFERRED TO IN THIS COMMITMENT IS DESCRIBED AS
FOLLOWS:

ALL THAT CERTAIN LAND IN LAKE COUNTY, STATE OF FLORIDA, VIZ:
THE EAS'I` 605.00 FEET OF THE NORTHWEST 1/4 OF THE NORTHEAST 1/4
OF SECTION 18, TOWNSHIP 19 SOUTH, RANGE 28 EAST, LAKE COUNTY,

FLORIDA.

COMMONLY KNOWN AS: 24700 WALKABOUT RANCH ROAD, SORRENTO,
FL 32778

5. Movant is the holder of the Note Secured by the Mortgage encumbering the property
claimed by the Debtor to be part of the bankruptcy estate and is a party in interest in this
bankruptcy proceeding

6. On November 17, 2006, Joseph R Shapiro executed a Prornissory Note in the principal
amount of $400,000.00 (herein, the "Note"). A copy of the Note is attached as Exhibit "A" and
incorporated by reference

7. The Note was secured by a Mortgage Which was recorded as Book 03328, Page 1890-
l905 on December 19, 2006. A copy of the Mortgage is attached as Exhibit "B" and incorporated

by reference

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8. Joseph R Shapiro has defaulted under the terms of the Note and Mortgage by failing to
timely tender the payments due. As of March 22, 2019, the Debtor's loan is contractually due for
May l, 2013.

9. The post-petition payment address Of the Movant is: CALIBER HOME LOANS, lNC.,
P.O. Box 650856, Dallas, TX 75265.

10. As of March 22, 2019, there is due and owing from the Debtor to Movant pursuant to the
terms Of Exhibits "A" and "B" the principal amount of $364,363.17, together With interest from
April l, 2013, additional advances made to protect the security granted, other expenses, costs of
this action and attorney's fees.

ll. Movant has not been offered and does not have adequate protection of its interest in the
Property. Moreover, Movant cannot be certain that the real property is insured or will remain
insured or that the property is being maintained

12. According to the Lake County Property Appraiser, the current value of the subject
property is $446,363.00. A copy is hereby attached as EXhibit “C”.

13. Filing of the Petition under the Bankruptcy Code has stayed Movant from proceeding
With its state court rights.

14. Movant is entitled to relief from the automatic stay because the Debtor has no equity in
the Property and the interest of the Debtor and/or Trustee herein is inferior and subordinate to the
interest Of the Movant.

15. Movant requests a Waiver of the fourteen (14) day stay under Rule 4001(a)(3) of the
Order granting relief so that Movant may pursue in rem remedies without further delay.

16. Movant seeks the award of fees and costs of $931.00 for the prosecution of this motion as

provided for and allowed under the terms of the Mortgage.

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17. Movant is entitled to adequate protection of its interests in the subject real property and
requests the Court to require the Debtor to make adequate protection payments; and if no such
adequate protection can be provided, Movant prays for entry of an Order granting relief from the
stay of 11 U.S.C. §362 to permit Movant to proceed with its state court rights.

18, Movant requests permission to communicate With the Debtor and Debtor's counsel to the
extent necessary to comply With applicable non-bankruptcy law.

WHEREFORE, Movant requests that this Court modify the stay under 11 U.S.C. §362(d)
and permit it to proceed With its State Court rights under the terms of the Mortgage and Note,
requests that the fourteen-day extension of the stay under Rule 4001(a)(3) be waived, award
bankruptcy fees and costs in the amount of $931.00, permit it to communicate With the Debtor
and counsel in order to comply With applicable non-bankruptcy law, and requests such additional

relief as is just.

Stefan Beuge, Esq., Florida Bar No. 68234
Phelan Hallinan Diamond & Jones, PLLC
2001 NW 64th Street

Suite 100

Ft. Lauderdale, FL 33309

Tel: 954-462-7000 Ext. 56588

Fax: 954-462-7001

Email: stefan.beu ge @phelanhallinan.com
FLl\/lD.bankruutcv@phelanhallinau.com

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PROOF OF SERVICE
IHEREBY CERTIFY that a true and correct copy of the foregoing, and any
applicable exhibits attached thereto, has been served electronically, or routed for service by U.S.
Mail, to the following:

LISA DUTTON LOVE
24700 WALKABOUT RANCH RD`
SORRENTO, FL 32776

K HUNTER GOFF

LAW OFFICES OF K HUNTER GOFF, P.A.
600 NORTH US HIGHWAY 27, SUITE 6
MINNEOLA, FL 34715

ARVlND MAHENDRU, (TRUSTEE)
5703 RED BUG LAKE ROAD
SUITE 284

WINTER SPRINGS, FL 32708

UNITED STATES TRUSTEE (SERVED ELECTRONICALLY)
OFFICE OF THE UNITED STATES TRUSTEE

GEORGE C YOUNG FEDERAL BUILDING

400 WEST WASH]NGTON STREET, SUITE 1100
ORLANDO, FLORIDA 32801

Date: Apl'i| 11, 2019 fsi Stefan Beuge, Esguire
Stefan Beuge, Esq., Florida Bar No. 68234
Phelan Hallinan Diamond & Jones, PLLC
2001 NW 64th Street
Suite 100
Ft. Lauderdale, FL 33309
Tel: 954-462-7000 Ext. 56588
Fax: 954-462-7001
Ernail: stefan.beu ge @phelanhallinan.com
l`~`Ll\/ID.bankruplcv@phelanhallinan.com

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Exhibit “A”

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If`-".` l ~., _ ~ - ‘ §\wccbomo
. . ' 1

NovEMBER 11. 2006 SANTA ANA . cALtFoRNtA
[Date] [City] [State]
24100 wALKABooT RANCH ROAD

SORRENTO, FL 32776

ll’wp€fy Addrwl
1. BORROWER' S PROMISE 'I'O PAY
locatoran aloanthatlhavececelved, lpromise topay U.S. $ 400, 000 . 00 (this mmntlsoalled
*P¢mpat"}, pins mmw, w ne mae acme Lmde. The mae n
GREENLICHI` FINANCIAL SERVICES

lwlllmakeallpaymentsundo tl'tistemtheftxmoIcash.checkormoney adea

understand that the under may water this Noie. The Lendet or anyonewho takes this Notehy transfer and who is
entitled to receive payments uncle this Note is called the "Note Holder."
2. IN'I'EREST

Intaest will be elm'ged on unpaid ginoipal until the fall amount of Principal has been paid l will pay interest at a
yearlyrate of 6 . 37 5 %.

The interest rate required by this Section 2 ls the rare 1 will pay both bd`¢re and alter any default described in
Section 605) of this Note.
3. PAYMENTS

(A) 'l`lme and Plaoe ofPayments

I will pay principal and interest by making a payment every month. '

lwill make my monthly payment on the lsi day flth month beginning fm JANUARY , 2007 . I will
make these payments every month until I have paid all o;l'the principal and interest and any other charges deso'ldedbelow
that I may oweunder this Note. tisch monthly payment will he applied ss ole schmiled die date andwiH be applied to
lnlunsthel`me Ptineipal. lt'. on DECEMBER 01. 2036 .Istill owe amounts uncle this Note, l will pay those amounts
tollill on that date. whichis called the "Maturity Date.”

lwill make my monthly payments at
PO BOX 54345, IRVINE, CA 92619-4345

or ata ditl'erent place lf:oquicod by the Note Holdor.

(`B] Amounl ol`Montlily Payntents

Mymonthly psymentwillhelntheamonntifU.S.$ 2, 4 95 . 48
4. BORROWER’ S RIGHT TO PREP AY

l]utve therth mmaltc payments ofPrlncipal atanytimebefmethey are dne. A payment oi`Prlncipal onlyislmown
asa"?repaymenl." Whenlmakea?repaymem. lwilltolltheNoteHolda'inwriting thatlamdoi.tgso. I-ynot
designate a payment as a Pcepaymmtl.f l have not made all the monthly payments die linda the Note,

I may make a hill Prepayment tr partial Prepayments wltlwat paying a Pi'epaymeat change The Note Holde: will use
my Prepaymenla to rethloe the mount of Prineipal that 1 owe under this Note, Howeves. the Note Holder may apply my
Prepayment to the accrued and unpaid inta'est on the Prepaynnmt mount be£tle applyitg my hepayment to retires the
Princ:lpal amount oftlteNote. Illmalce apartial Prepayment. thuewHIhe no elimgesintbe the dateor lntlie amount of
my monthly payment unless the Note Holdn' ames in mailing to those changes

wsm _ wm
FLORI DA FlXED RAT E NOTE -- Singl¢ Flmlly - Flllflic MlefFl'¢tldle Mlc UNIFOR.M INSTRUMENT Fr‘="{' 710 5 ml
Pqe 1 of 3

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5. LOAN CHARGBS

li` a law. which applies to this loan and which sets maximum loan charges is inally intimated so that the interest rr
other loan chzges collected or to becollected in connection with this loan exceed the permitted limits thrm: {al any such
loan charge shall be reduced by the amount necessary to retiree the charge to the permitted limit and [h) any sums
already collected liona me which etrceeded pumitled limits will hereihodetl to me. The Note Holder may choose to make
this refund byrerhcing the Prirtr:ipal l oweuruia' this Note tx hymaltirg edited paymentto me. liareiimdredtces
Prhicipal. the reduction will he treated ss s partial Prepayment.
6. BORROWER‘ S FAlLURE TO PAY AS REQUIRED

(A) Latc Charge for Overduc Payments

It`the Note Holder has notreceivedthemll mount ofany monthly paymentbythe end of 15 calendar days aftra
the dateitisrhe. Iwillpayalatecharge tothe Note Holder. Theamonntofthechargewillhe 5 . 000 % ofmy overthe
payment of p:lncipai and intuest. l will pay this late charge promptly but only once on each late payment

{B) Dafaulc

ll`[ do notpaythefullamountoi`eachmonthly paymentonthedateitlsdte.lwillbeindefauit.

(C) Notiee of Defrault

IfI am in dei`mlt. the Note Holder maysend me entitled notice telling methat ill donot paythe overdue amount
hya certain date. the Note Holdo: may require me to pay immediately the full amount oi`Principai which has not been
paldand aillheintrrestthatl owetm thatarnoont. That dstemnstbeatleasthi| daysai`ter thedateonwhich thenotice
ismailed to me or delivt:edhy other means

(D] No Waiver By Note Holtier

Eveuif. ats time when lam in default, theNoteHoldu doesnotrequiremewpayimmedlateiyinihllasdesuibed
d)ove. the NoteHoldrrwillstill havetherightto do soiflamindefmitatalater time

(E) Pay'ment oiNotc Holder‘ s Costs end Expenses

Ii'the Note Holdt: has required me to pay limnetiiately in iiill as described d)ove, the Note Holde' will have the right
to he paid hack byrne for ali ofits costs and expensesin eni`rrcirlg this Note to the extent not gohihited by applicable
law. Those mrpe:nses dmlude. for arample, reasonable atn:rrneysl lecs.
'7. G'WING OF NOTlCES

Unless applicd)le law requires a different method, any notice that must he given to me under this Notewili be givenby

delivering lt or by mailing ithyitrsichcssmail tomeatthel*rnpextyhddress ahoveu' atadif.i'a'ent addressifIgivethe
Note Holder a notice of my different address

Any notice that most he giv¢ to the Note Holde: under this Note will he given by deliverhg it or ‘ny mailing it by
iirstclassmil to the Notel~lohler at the address stated in Seetlon 3(A) ahoverx at adii'ferent address iflamgivena
notice oi'thai different address
8- OB]..IGATIONS OI" PERSDNS UNDER THIS NOTE

Ii'more titan onepasonstgns this Note1 each personishiilyandpersonally obligated to keepall ofthe gomisesmade
in this Note, including the promise to pay the full mount owed Any person who is a gua'anur, strety, tr enduser
of this Note is also rilligatcd to do these thiigs. Any person who takes over these ohligatiom, inohtrlirg the obligations of
agnaranta', surety. a endorser ofthis Note, is also obligated to keepail ui'the promises made in this Note The Note
Holder may enforce its rights under thls Note against each person individially m against all of us mgether. This means
that any one ofus may be required to pay all ofthe amounts owedunder thisNote.

9. WAIVERS

land any other patton who has ohiigaticms nude this Note waive the rights ofPresenunent and Nntice ofDishonrr.
”Presenmleztt' means the right to require tire Note Holder to demand payment of amounts the "Notice of Dishonor“
monte theright to require the Note Holder to give notice to other persons that ammnts the have not been paid.

Mmm_ me j/
FLORIDA FIXBD RATE NOTE - Single Family -- Fanuie Mar]¥reddie MacUNlFORM lNS'l`RUMEN'I` l'~‘net§"§‘il ll 'ill’tl
Page 2 of 3

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10. UNIFORM SECURED NOTE

This Note is a nnil'mm insrument with limited variations in some jnrisdlctions. ln addition to the gorectlnns given
to the Note Holder unda' this Note, a er‘tgage, Deed of 'Itust tr Security Deed (the l‘Ser:urity Instmment“). dated the
same date as this Note. protects the Note l-lolder llom possible losses which might result ifl do not keep the gomises
which I make in this Note, That Security instrument describes how and under what conditions l may be required to make
immediate payment in full of all amortan owe under this Note Some of those conditions ne described as follows:

li'all or any put ofthe Property or any honest in the Property is sold or narat'erred {or ifBotrowa
is not a marcel person and ahenelicial interest in Borrower is sold or transme without Lender's]rlor
written consent Leoder may require immediate payment in l`ull ol' all sums secured by this Secority
lnstl'omenL l-lowevtr. this option shall not be exa'cised by Lende.r if snell exercise is prohibited by
Appliczble Law.

Il' Lender exercises this option1 Lender shall give Borruwtr notice ol' acceleration The notice shall
provideaperiod ofnot lessth.an 30rhya£romthe date thenoticeisglveninaccordancewith$ectionl§
within which Br:ruwer trust pay all sums secured bythis Secnrlty instruth Ithxrowtx fails to pay
these mms girl to the expiration of this perlod. Lender may invoke any remedies permitted by this
Security lnstrument without further notice or demand on Bnrrowu.

ll.DOCUMENTARY TAX

The state documentary textile onthisNotehasbeenpaid onthemrxtgage seuirirgthislndebtedness.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

 

 

 

 

 

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(Sml) (Seal)
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, . . 6 _.""'. - , t ER B ` nBroul|lard
" " ‘ " "` " ` First Vice President
l.nmNnmbu'
FLORIDA FIXED RATB NOTE ~¢ Single Flmily - Fl.nnieMle/Fr¢ddie Mlo UNIFORM INSTRUMEN'[ P"”'" 1'“ n lim

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Exhibit “B”

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w/' CORAOPOL|S, PA 15108 9969 .

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mleB. cA sam

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8105 IRV]NE CENI`ER DRIVE #100
IIWUE, CA 92618
[Spaoe Above This LineFor Reoording Data]
MORT GAGE
DEFINII`IONS

Words used in nmltiple sectiom of this document are defined below and other words are defined in Sections 3, 11,

13. 18, 20 and 21. Certain rules regarding the usage of words used in this document are also provided in Section
16.

(A) " Security Instrument" means this ducument, which is dated NOVEMBER 17. 2006
together with all Riders to this document
(B) ”Borrower" is

]OSEPH R SHAPIRO, AN UNMARRIED MAN

Borrowa' is the mortgagor under this Security Instrument.

(C) "MERS" is Mortgage Electronic Registration Systems. Inc. MERS is a separate corporation that
is acting solely as anominee for Lenda' andLenda"smccesscn‘s and assigns MERS is the mortgagee under

this Securitylnstrument. MERS is organized and existing under the laws of Delaware, andhas an address
and telephone number of P.O. Box 2026, Flint. MI 48501-2026,te1. (888) 679-MERS.

LM»»»_ M»DM/
FLORIDA - Single Family »- Fannic Mac/Frcddie Mnc UNIFORM INSTRUMENT Fo{é‘; 3010 1101
(Plgv l 01']§7 CSOOGlFL

 

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(n) "Lmae¢" is
GREENLIGHT FINANCIAL sERVICES

Lender is a S_C()RPORATION organized and existing under the
laws oi` CALIFORNIA . Lender's address is
8105 lRVlNE CENTER DRIVE #100

IRVINE, CA 92618

(E) "Note" means the promissory note signed by Borrower and dated NOVEMBER 17. 2006
The Note states that Botrower owes Lender

FOUR HUNDRED THOUSAND AND 00/100
Do|iars {lJ.S.$ 400, 000 . 00 }plns hitcrest.Borrm-rer haspromisedtopaythisdeht
inregular Periodic Payments and to pay the debt in full not later than lJECEMB£R iii1 2036 .
(F) "Property“ means the property that is described below under the heading "Transi`er oi` Rights in the
Property.”

(G) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges
due under the Note, and all sums doe under this Security Instrument, pins interest.

(H) "Riders” means ali Ridtns to this Semrity lnstrorneni that are executed by Btn'rower. The following
Riders are to be executed by Borrowrx [check box as applicahie]:

\:] Adjustable Rate Rider 1:1 Condominium Rider :] Second Home Rider
|:i nassau Rider E niweekty Paymem Rider l:| 1-4 Famny Rider
l:l Otha(s) [specii`y] 1:1 Platmed Unit Development Ridu

(t) "Appiicabte Law” means all controlling applicable iederal, state and local statutes regulations
ordinances and administrative rules and ordo's (tbai have the eil`ect of law] as well as ali applicable iinal,
non-appealable judicial opinionsl

(J) "Commnnity Association Does, Fees, and Assessments" means all dues. fees, assessments and other
charges that are imposed on Bta'rower or the Property by a condomian association homeowan association or
similar organization

[K} "Eiectrrmic anis 'i'ransi`er" means any transfer of iiinds, other than a transaction originated by check.
draft or similar paper instrument. which is initiated through an electronic terminaL telephonic instrumeni.
computcr, or magnetic tape so as to ordtr. instruct, or authorized a fmanciai institution to debit or credit an
accoo.ot. Sucb team includes but is not limited to` point-o[-saic transi`ras. automated teilo' machine transactionsl
transactions transfers initiated by telephone. wire transfersl and automated clearinghouse transfers

(L) "Escrow Items" means those items that are described in Section 3.

(M) “Miscellaneous Pruceeds“ means any compensation settiement, award of damges, or proceeds paid
by any third party [ol]rer than insurance proceeds paid under the coverages described in Sct:tion 5} i'or: (i) damage
to. or destruction of. the `Proprrty; [ii} condenmatioo or other laier oi` all or any part of the Proptaty; {iii}
conveyance in lieu oi` condemnation; or (iv] misreprestmtations oi`, or omissions as to. the value and.r‘or condition
of the Prop€ty.

'(F)L "Mortgage Insorance" means insurance protecting Lender against the nonpayment of, or default on.
E 0311.

FLORlDA - Singlc Fa.mily -- Fanoic Machroddie Mac UNH"ORM INSTRL»MENT Fo% 3010 l/Ul
(?agvl of 133 mm

 

 

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(O) "Periodie Payment" means the regularly scheduled amount due for (i) gincipal and interest under the
Note. pitts (ii) any amounts nude Section 3 oi` this Security lnstrument. ~

(P) "RESPA" means the Real Estate Settlemeol Procedures Act (12 U.S.C. §2601 et seq.) and its
impi-enting regulation Regulation X {24 tli".ii‘h Part 3500}. as they might be amended nom time to time or any
additional or succemo: legislation tr regulation tiul governs the same subject matter. ns used tn this Securin
instrument “RESPA" refers to all requirements and restrictions that are imposed in regard to a "i`ederally related
mortgage loan" even it' the Loan does not qualify as a "i`ederaliy related mortgage loan" undm' RESPA.
(Q) ' Soccessor in interest of Borrower“ means any party that has taken title to the Property. whether or
not that party has assrnnedBorrower‘s obligations under the Note and!or this Security Instrument.

TRANSFER OF RlGHTS IN THE PROPERTY

This Security Instrumeot secures to Lendo': [i) the repayment of the Loan. and all rerte\,'.'alsl rationalesz
and modifications of the Note: and (ii) the performance oi` Borrowo"s covenants and agreements under
this Security instrument and the Note, For this purpose Borrowo' does hereby mortgage grant and convey to
MERS (soieiyusnominee for lender and Lender'ssu ccessorsandasslgns} and to the successors and assigns of
MERS. the following described goperty located in the County of LAKE :

san ATrAcHso moon A

ParOelNumber: .. 18-19-28-000100000109

which currently has the address of
24700 WALKABOUT RANCH ROAD
ISUM)
SORRENTO . Florida 32716_
[Cr'o)] lle Cvdt=]
("Property Address"):

TOCETHER WlTH all the improvements now or ho'eailer erected on the propaty. and all easmnents.
appurtenances and i`urtures now rn bereatitz a part of the property. All replacements and additions shall also be
cavered try this Seeurity bisnoment. All of the foregoing is refuted to in this Security Instroment as tire
" sports
Borrower understands and agrees that MERS holds only le al title to the interests granted by erowerio
this Secority lustroment. but. ii` necessary to comply with §aw or utstom. MERS (as nominee for Lender
antiLender'ssuceessorsand assigned has the right: to exercise any or alloi those honests, including,but not
limited to.t.be right to fmecloseand sell t.be Property: and to take any actiourequired of Lender including
but not limited to. releasing and cancelling this Seutrity insanean

BORROWER COVENANTS that Borrower is lawfully seised of the estate ha'eby conveyed and has the
right to mortgage grant and convey the Property and that the Property is unencumbered except for

ertcumbrauces ol.` recru'd. Borruwer warrants and will defend generally the title to the Property against all claims
and demands, subject to any encumbrances of record.

M_ easley

FLOR]DA - Single Fa.otily -- Fannic Mao/Froddie Mac UN'lFORM INSTRUMENT I"%t 3010 1l01
(Page .? al'/.$J CiDOtBFL

 

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THIS SECURITY lNSTRUN[ENT combines uniform covenants for national use and non-uniform
covenants with limited variations byjurisdiction to constitute a uniform security instrument covering real property.

UNIFORM COVENANTS. Borrowec and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Eacrow Itema, Prepayment Charges, and Late Charges.
Borrowrr shall pay when due the principal of, and interest on, the debt evidenced by the Note and any prepayment
charges and late charges due under the Note Borrower shall also pay funds for Esuow Ite:ms ptrnrant to Section
3. Payments due under the Note and this Security instrument shall be made in U.S. cetrency. Howevcr, ii any
check or other instrument received by Lender as payment under the Note or this Security Irlstrument is returned
to Lender unpaid Lender may require that any or all subsequent payments due under the Note and this Security
Instrument be made in one or mine of the following forms. as selected by Lendtr: {a] caah; (b) money order: (c)
certified checlr. bank check. oeastner's check or cashier's check. ]rovided any such check is drawn upon an
institution whose deposits are insured by a fede'ai agency. instrumentality, or entity; or (r[t Electronic Funds
Transfer.

Payments are deemed received by Lender when received al the location designated in the Note or at such
other location as may be designated by Lendrr in accordance with the notice provisions in Section 15. Lender may
return any payment or partial payment il` the payment or partial payments are innifticient to bring the Loan
oirrent. Lender may accept any payment or partial payment hamilicient to bring the Loan ourrent. without waiver
of any rights herde or prejudice to its rights to refuse streit payment or partial payments in the future. but
Lllder is not obligated to apply such payments at the time such payments are aocepted. lfeach Periodic Payrn-t
is applied as of its scheduled dne date, then Lender need not pay intt:e-st on unapplied funds. Lender may hold
such unappiied funds until Borrower maher payment to bring the Lnan current ll`Borrowcr does not do so within
a reasonable period of time. Lendcr shall either apply such funds or return them to Burrower. if not applied
earlier. such funds will be applied to the outstanding principal baiance under the Note immediately prior to
foreclosure No olIsel or claim which Bo:rower might have now er in the future against Lender shall relieve
Borrower from making payments title under the Note and this Security Instrument or performing the covenants
and agreements secured by this Security Instrument.

2. Application oi'Payments or Proeeeds. Except as othu'wise described in this Section 2, all payments
accepted and applied by Lender shall be applied in the following order of priority: (a] interest due nnrle'
the Note: lb) principal due under the Note: (c) amounts due under Section 3. Such payments shall be applied
tn each Paiodic Paymtatt in the ordcr in which it became dne. Any remaining amounts shall be applied drst
to late chargcs. second to any other amounts due under dds Security instrument and then to reduce the
principal balance of the Nnie.

lf Lender receives a payment from Borrowo: for a delinquent Periodic Payment which includes a
sufficient amount to pay any late charge due. the payment may be applied to the delinquent payment and
the late charge Ii`mnre than one Periodlc Payment is outstanding Leuder may apply any payment received horn
Bnrrowrr to the repayment of the Periodic Payments it`. and to the extnt that, each payment can he paid in
iitll. To the extent that any excess exists alter the payment is applied to the full paym¢t of one or more
Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall be
applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
Note shall not extend or postpone the due date, or change the amount1 of the Pe'iodic Payments.

3. Furuta for Escrow name Borrowa shall pay to Lender on the day Periortic Payrnents are due under
the Note, until the Note is paid in full a sum (the "Funds"} to provide for payment ol` amounts due for: [a) taxes
and assessments and other items which can attain priority over this Security basement as a lien or encumbrance

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on the Propaty; (b) leasehold payments or ground rents on the Property. if any; (c) gemiums for any and all
insurance required by Lender under Section 5: and (d) Mortgage lnsurance premiums, if any, or any sums payable
by Borrower to Lender in lieu of tbe payment of Mmtgge Insurance gemiums in accordance with the provisions
of Section 10. These items are called "Escrow Items." At origination cr at any time during theth of the Loan,
Lender may require that Comnmnity Association Dues, Fees, and Assessments, if any, be escrowed by Borrower,
and such dues, fees and assessments shall be an Escrow ltem. Borrower shall promptly furnish to Lender all
notices of amounts to be paid under this Section. Borrower shall pay Lender the Funds for Escrow Items unless
Lender waives Borrower'sobligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's
obligation to pay to Lenda' Funds for any or all Escrow Items at any time. Any such waiver may only be in
writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts due for
any Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires, shall iiirm'sh
to Lender receipts evidencing such payment within such time period as Lende' may require. Borrower'sohligation
to make such payments and to provide receipts shall for all purposes be deemed to be a covenant and agreement
contained in this Security Instrument. as the phrase "covenant and agreement“ is used in Section 9. If Borrower
is obligated to pay Escrow Items directly, pursuant to a waive', and Borrower fails to pay the amount due for
an Escrow Item, Lender may exercise its rights under Section 9 and pay such amount and Borrower shall then be
obligated under Section 9 to repay to Lender any such amount. Lend¢! may revoke the waiver as to any or all
Escrow Itnls at any time by a notice given in accordance with Section 15 and, upon such revocation, Borrower
shall pay to Lender all Funds, and in such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the
Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under
RESPA. Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of
expenditures of future Escrow Items or otherwise in accordance with Applicable Law.
Escrow ltems or otherwise in accordance with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality,
or entity (inclnding Lendtu, if Lender is an institution whose deposits are so imcd) ur in any Fedr:al Home Lnan
Bank. Lender shall apply the Funds to pay the Escrow Items no late than the time specified under RESPA. Lender
shall not charge Borrower for holding and applying the Funds, anrmally analyzing the escrow account, or verifying
the Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable Law permits Lendu to
make such a charge Unless an agreement is made in writing or Applicable Law requires interest to be paid on the
Funds. Lender shall not be required to pay Borrowe' any interest or earnings on the Funds. Borrower and Lender
can agree in writing, however, that interest shall be paid on the Funds Lender shall give to Borrower, without
charge an annual accounting of the Funds as required by RESPA.

lf there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as
defined under RESPA, Lender shall notify Borrowel as required by RESPA, and erower shall pay to Lender the
amount necessary to make up the shortage in accordance with RESPA, but in no more than 12 monthly payments
lf there is a deficiency of Funds held in esuow, as defined under RESPA, Lender shall notify Borrower as
required by RESPA, and Borrower shall pay to Lende' the amount necessary to make up the deficiency in
accordance with RESPA, but irl no more than 12 monthly payments

Upon payment in iirll of all sums secured by this Security lnstrument, Lender shall promptly refund to
Borrower any Funds held by Lender.

4. Charges; Lieus. Borrower shall pay all taxes, assessments, charges, iines, and impositions attributable
to the Property which can attain giority ove' this Security Instmment. leasehold payments or ground rents

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on the Property. if any. and Community Association Dues, Fees. and Assessments, ii' any. To the extent that these
items are Escrow Items, Borrower shall pay them in the mamler provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security lnstrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manna acceptable to
Lender, but only so long as Borrowe' is performing such agreement; (b) contests the lien in good faith by, or
defends against enforcement of the lien in. legal proceedings which in Lender‘s opinion operate to prevent the
enforcement of the lien while those proceedings are pending, but only until such proceedings are conchi'ded; or
(c) secures ii'om the holder of the lien an agreement satisfacttry to Lender subordinating the lien to this
Security Inshument. If Lender dete'mines that any part of the Property is subject to a lien which can attain
giority over this Security Instrumllt, Lender may give Borrower a notice identifying the lien. Within 10 days
of the date on which that notice is given, Borrower shall satisfy the lien or take one or more of the actions
set forth above inthis Section 4.

Lender may require Borrower to pay a one~time charge for a real estate tax verification and/or reporting
service used by Lender in connection with this Loan.

5. Property Insuranoe. Borrower shall keep the improvements now existing tx hereafter erected on the
Property insured against loss by fire, hazards included within the term "extended coverage,“ and any other hazards
including, but not limited to. earthquake and iloods. for which Lender requires insurance This instirance shall
be maintained in the amounts (including deductible levels) and for the periods that Lender requires What Lender
requires parsianl to the preceding smituuces can charge dining the term of the Loan. Thc insurance carrier
providing the insurance shall be chosen by Borroth subject to Lendrr'sright to disapprove Borrower's chuice.
which right shall not be exercised unreasonably Lender may require Borrower to pay, in connection with this
Loan, eithrr: (a) a one-time charge for ilood zone determination1 certification and tracking services; or (b) a
one-time charge for flood zone determination and certification services and subsequent charges each time
remappings or similar changes occur which reasonably might affect such determination or certification Borrower
shall also he responsible fur the payment of any fees imposed by the Fedrral Emergency Management Agency in
connection with tile review of any lluudaoue determination resulting from an objection by Borrower.

if Borrower fails to maintain any of the coverages described abovc. Lender may obtain insurance
coverage, at Lender‘s option and Borrower's expense. Lender is under no obligation to purchase any particular
type or amount of coverage Therefore, such coverage shall cover Lender, but might or might not protect
Borrowu, Borrower's equity in the Property. or the contents of the Property. against any risk, hazard or
liability and might provide greater or lesser coverage than was previously in effect Borrower acknowledges that
the cost of the insurance coverage so obtained might signiiicantly exceed the cost of insurance that Borrower
could have obtained Any amounts disbursed by Lender under this Section 5 shall become additional debt of
Borrower secured by this Security Instrument. These amounts shall bear interest at the Note rate ii'om the date
of disbursement and shall be payable. with such inte'est, upon notice from Lender to Borrower requesting
payment

All insurance policies required by Lender and renewals of such policies shall be subject to Lender'sright
to disapprove such policies, shall include a standard mmtgage clause, and shall name Lender as mortgagee and/or
as an additional loss payee. Lender shall have the right to hold the policies and renewal certificates It`
Lender requires, Brrrower shall promptly give to Lender all receipts of paid premiums and renewal notices. It'
Borrower obtains any form of insurance coverage, not otherwise required by Lender, for damage to. or
destruction ol`1 the Property. such policy shall include a standard mortgage clause and shall name Lender as
mortgagee and/or as an additional loss payee

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ln the event of loss, Borrower shall give prompt notice to the insurance carrier and L¢der. Lender may
make proof of loss if not made promptly by Borrowe. Unless Lender and Borrowe' otherwise agree in writing,
any insurance proceedsl whether or not the underlying insurance was required by Lender, shall be applied to
restoration or repair of the Property. if the restoration or repair is economically feasible and Lender‘s
security is not lessened During such repair and restraatinn period Lender shall have the right to hold
such msuancc proceeds until Lender has had an opportunity to inspect such Property to ensure the work has
been completed to Lender‘s satisthction. provided that such inspection shall be undertaken promptly. Lendo'
may disburse proceeds for the repairs and restoration iu a single payment or iu a series of progress
payments as the work is completed Unless an agreelnlt is made in writing or Applicable Law requires
interest to be paid on mob insruance proceeds Lender shall not be required to pay Borrowe' any interest or
earnings on such proceeds Fees for public adjusters or other third parties, retained by Borrower shall not
be paid cut of the insurance proceeds end shall be the sole obligatth of Brrrower. li` the restoration or
repair is not economically feasible or Lender‘s security would be lessened the inmrance proceeds shall be
applied to the sruns secured by this Security instrumentl whether or not then dne. with the excess if any.
paid to Borrower. Such assurance proceeds shall be applied in the order provided for in Section 2.

lf Borroer abandons the Property. Lender may iile. negotiate and settle any available insurance claim
and related mattos. If Borrower does not respond within 30 days to a notice from Lender diet the insurance
carrier has ufftred to settle a clairn. then Lender may negotiate and settle the claim The ED-day period
will begin when the notice is given in either eveut. or if Lender acquires the Property und¢u' Section 22
or otherwise. Borrower hereby assigns to Lender (a) Borrowo"s rights to any insurance proceeds in an
amount not to exceed the amounts unpaid under the Note tr this Security lustrumeut, and (b) any other of
Borrower‘s rights foth than the right to any refund of unearned premiums paid by Borrower) under all
insurance policies covering thc Property. insofar as such rights are applicable to the coverage of the
Property. Lender may use the insurance proceeds either to repair or restore the property or to pay amounts
unpaid undrr the N ute or this Scrnrity lnsu'umrmt. whether or not then due.

6. Oocupanoy. Borrower shall occupy. establish. and use the Property asBorrower‘s principal residence
within 60 days after the erecution of this Security instrument and shall contirme to occupy the Property as
Bm'rower'sprincipal residence fur at least one year after the date of oocupancy. unless Lender otherwise agrees
in writiug, which consent shall not be unreasonably withheld or unless extenuating circumstances exist which are
heyondBorrowu"scontroL »

7. Prcscrvai.ion, Maintenance and Protection of the Property; fnspeotions. Borrower shall not
destroy, damage or impair the Property. allow the Property to deteriorate or commit waste on the Property.
Wltether or not Borrowe' is residing in the Property. Borrower shall nmintain the Froperty in order to prevent
the Property ii.'um detrriorating ur decng in value due to its condition. Unless it is determined pursuant
to Section 5 that repair ur restoration is not economically feasible. Borrower shail promptly repair the
Property if damaged to avoid former deterioration or damage If irls\rrance or condemnation proceeds are paid
in connection with damage to. or the taking uf. thc Property. Bm'rower shall be responsible for repairing or
restoring the Property only if Lender has released proceeds for such purposes Lender may disburse proceeds
for the repairs and restoration in a single payment or in a series of progress payments as the work is
completed ll` the insurance or condemnation proceeds are not sui`n`cient to repair or restore the Property.
Borrower is not rciieved of Borrower's obligation for the completion of such repair or restoration

Lender or its gent may make reasonable entries upon and inspections of the Property. If it has
reasonable cause. Lendtr may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower's Loan Application. Borrowe' shallbeindefault if.duringtheLoan application process,
Borrower or any persons or entities acting at the direction of Borrower or with Borrower'sknowledge or consent

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gave materially false. misleading, or inaccurate information or statements to Lender (or failed to provide Lender
with material information) in connections with the Loan. Material representations inchrde, but are not limited to,
representations concerning Borrower's occupancy of the Property as Borrower's principal residence

9. Protection of Lender's Interest in the Property and Rights Undcr this Security Instrumont.
lf (a) Borrower fails to perform the covenants and agreements contained in this Security lnstrnment. (b] there is
a legal proceeding that might significantly aEect Lender‘s interest in the Property and/or rights under this
Security lnstrument (such as a goceedirg in bardtruptcy. probate. for condemnation or forfeitnre. for
enforcement oi` a lien which may attain priority over this Security instrument or to entor'ce laws cr
rcgnlations]. or (c) Borrower has abandoned the Property. then Lender may do and pay for whatever is reasonable
or epp'opriate to protect Lender‘s interest in the Property and rights under this Security ]nstrmnent. including
protecting and!or assessing the value of the Property. and securing andtor repairing the Property. Lendts's
actions can include, but are not limited to: (a) paying any sums seemed by a lien which has priority over this
Security instrument; (b) appearing in court; and (c) paying reasonable attorneys' fees to protect its interest
in the Property andtor rights under this Security lnstrument. including its secured position in a bankruptcy
proceedingl Securing the Property includes. but is not limited to, entering the Proptaty to make repairs. change
locks. replace or board up doors and windows chain wate' from pipes, eliminate building or otha code violations
rs dangerous conditions and have utilities turned on or oil Although Lender may take action under this Section
9. Lender dorn not have to do so and is not under any duty or obligation to do so. It is agreed that Lendrr
moots no liability for not taking any or all actions authorized under this Section 9.

Any amounts disbursed by Lendw under this Section 9 shall become additional debt oi` Borrower secured
this Security Instrunrent. These amounts shall bear interest at the Note rate from the date of disbursement and
shall be payable, with such interest, upon notice from Lender to Borrower requesting payment

lfthis Security instrument is on a leasehold. Borrower shall comply with all the provisions of the lease.
lf Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees
to the merger in writing

10. Mortgage Insurance lt Lender required Mortgage histoancc asa condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage lnmrance in eli'ect. ill for any reason, the
Mortgage insurance coverage required fly Lendrr ceases to he available front the mortgage irr.strrer that previously
provided such insurance and Borrower was required to make separately designated payments toward the gmnhims
for Mortgage brsurance. Borrower shall pay the prerrn'mns required to obtain coverage substantially equivalent to
the Mortgage lnstirance previously in eliect, st a cost substantially aroivalent to the cost to Borrower of the
Mortgage Insurance previously in eli`ect. ll'orn an climate mortgage warner selected by Lender. If substantially
equivalent Mortgage htsurance coverage is not availablel Borrower shall conti.tmo to pay to Lender the amount ol`
the separately designated payments that were due when tile insurance coverage ceased to be in eli`ecL Lendtr will
accept, use and retain these payments as a non~relimdehle loss reserve in lieu of Mortgage lnsaranee. Such loss
reserve shall be nonrel`undable. notwithstanding the l`act that the Loan is ultimately paid in full,and Lender
shall not be required to pay Borrower any interest or earnings on such loss reserve Lender can no longer
require loss reserve payments if Mortgage bislnance coverage [in the amount and for the period that Lendts
requires} provided by an tamm selected by Lender again becomes available is obtained1 and Lender requires
sepaately designated payments toward the premiums for Mortgage insurancel if Lender required Mortgage
insurance as a condition ol' making the Loan and Borrower was required to make separately designated payments
toward the premiums for Mortgage Insurance. Borrower shall pay the premiums required to maintain Mortgage
lnuirance in ei]`ect. or to provide a non-refundable loss reserve. until Lender‘s requirement for Mortgage
Insurance ends in accordance with any written agreeth between Borrowa' and Lendtx providing for such

termination or until termination is required by Applicable Law. Nothirg in this Section 10 affects Borrower's
obligation to pay interest at the rate provided in the Note.

FLORIDA - Single Family - Fannie Maell"reddic Mac UNH"ORM INS'l`RUMEN'l` l-'or 3tlltlll01
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Mortgage insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
incur ifBorrower does notrepay the Loau as agreed Borrower is not a party to the Mortgage Insurance
party to the Mortage lnsura.nce.

Mortgage insurers evaluate their total risk on all stroh lawrence in force from time to time. and may enter
toto agreements with other parties that share or modify their risk. or reduce losses These agreements are on terms
and conditions that are satisfactory to the mortgage insoro: and the olhe' party (or parties] to these agreements
These agreements may require the mortgage insurer to maire payments using any source iffunds that the mortgage
manner may have available [which may include hinds obtained from Mortgage bisnrance gemirnns).

As a result of these agreements Lender, any purchaser of the Note1 another insurer, any reinsurer, any
other entity. or any aiIliale of any of the ioregoing, may receive (directly or indirectly} amounts that derive from
{ta' might be characterized as) a portion of Borrowe"spayments for Mortgage losorance. in exchange for sharing
or modifying the mortgage insurer'srlslt, or rodnchg losses. l[such agreement provides that an affiliate of Lendtr
takes a share of tire insure"srisk in eaehme for a share of the premiums paid to the insurert the arrangement is
otten termed “captive rentsurance." Furtber:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Loan. Sueh agreements will not increase the amount
Borrower will owe for Mortgage lusura.nt:e, and they will not entitle Borrower to any refund.

(b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
Mortgage Insurance under the Homeowners Protcetion Aet of 1998 or any other law. These rights may
include the right to receive certain discloses es, to request and obtain cancellation of the Mortgage
Insuranoe, to have the Mortgage Insurance terminated automatically, and/or to receive a refund of any
Mortgage Insurance premiums that wore unearned at the time of such cancellation or terminaliou.

11. Assignment of Misoelianeons Proceeds; Fori'eitore. All Miscellaneous Prnt:eeds are hereby
assigned to and shall be paid to Lender.

li the Property is damaged. such Miscel.laneons Proceeds shall be applied to restoration or repair
of the Property. if the restoration or repair is economically feasible and Lender‘s security is not lessenedl Daring
such repair and resttration period, L¢rler shall have the right to hold such Miscellaneous Proceeds until Lender
bar had an opportunity to inspect such Property to ens.tne the work has been completed lo Lende"ssatts£action,
provided that such inspection shall be undertaken promptly Lender may pay for the repairs and restoration in a
single disbursement or in a series of progress payments as the work is completed Unless an agreement is made in
writing or Applicable l.aw requires interest to be paid on such Miscelianeous Proeeeda Lender shall not be
required to pay Borrower any interest or earnings on such Misoellaneoas Proceeds. lf the resttnation or repair is
not economically feasible or Lender'ssecarily would he lessermd, the Miscellaneous Procoeds shall be applied to
the sums seemed by this Security Instrumolt, whether or not then due. with the excess, if any, paid to Borrower.
Such Miscellaneous Proceeds shall be applied in the order provided for in Section 2.

In the event of a total taking. destruction or loss in value of the Property. the Miscellaneous Proceeds
shall be applied to the sums secured by this Seulrity Instrument, whether or not then due with the excess, if
any, paid to Borrower.

In the event of a partial ta.king, destruction, or loss in value of the Property in which the fair market value
of the Property immediately before the partial ta]dng, destruction, or loss in value is equal to or greater titan the
amount of the sums secured by this Security Inslru.rnent immediately before the partial taking, destruction, or loss
in value, unless Borrower and Lender otherwise agree in writing, the sums secured by this Security Instrument
shall be reduced by the amount of the Miscellaneoas Proceeds multiplied by the following fraction.' (a) the total
amount of the sums seemed immediately before the partial laldrg. destruction or loss in value divided by (b) the
fair market value of the Property lrmnediately before the partial taking, destruction or loss in vahie. Any balance
shall be paid to Borrower.

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In the event of a partial taking, destruction. or loss invahte of the Property inwhich the fair market value
of the Property immediately before the partial taldng, destructionI or loss in value is less than the amount
of the sums secured iramediately before the partial taking. destruction or loss in vabie, unless Borroer
and Lender otherwise agree in writing, the Miscellaneous Pcoceeds shall be applied to the sims secured by
this Security Instrnment whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, alter notice by Lender to Borrower that the Opposing
Party las defined in the next sentence) o[f`rrs to make an award to settle a claim for damages Borrower fails to
respond to Lender within 30 days after the date the notice is givcn. Lender is authm'iacd to collect and apply
the Miscellaneons Proceeds either to restoration or repair ol' the Property re to the sums secured by this
Security instrumentl whether or not then doc. "Opposing Party" means the third party that owes Borrower
Mistccllancous Procceds or the party against whom Borrower has a right of action in regard to Miscellaneous
Proceeds.

Borroth shall be in default if any action or p:oceeding. whether civil ort:iminal. isbegun that.
L¢dcr's juchmeat. could result in forfeiture of t.be Property or other matuial impairment of Lender‘s intaest in
the Property or rights under this Security Instrament. Borrower can cure such a default and, il' acceleration has
oecurred, reinstate as provided in Section 19. by cauan the action or proceeding to be dismissed with a ruling
that in Lendet"sjudgment. lxecbtdes frufeitnre of the Property or other material impairment of Lender‘s interest
in thc Property cr rights under this Security Instrumeut. The proceeds of any award or claim for damages that are
attributable to the impairment of Lender'sintcrcst in the Property are hueby assigned and shall be paid to Lender.

All Misccllaneous Proceeds that arc not applied to restoration or repair of the Property shall be applied in
the order provided l`or in Section 2.

12. Borrower Not Relcased; Forbcarance By Lender Not a Waiver. Ettlcnslon of the time for
payment re modilication of amortization of the sums secured by this Security Instruruent ganted by Lender to
fittinth or any Successru in interest of` Borroer shall not operate to release the lid)llity ol` Borrower or any
Successcrs in lott-rest of Borrower‘ Lendtu shall not be required to commence proceedings against any Successor
in lnterest of Borrower ar to refuse to extend time for payment or otherwise modify amortization of the sums
secured by this Security lnstrament by reason of any demand made by the original Borrower or any Successors in
lntcrest of Borrower. Any forbeaance by Lendtr in errercidng any tighter remedy including without limitation _
Lender‘s acceptance of payments from third persons. entities or Suocessors in lutercst of Borrower or in amounts
less than the amount then dne, shallnotbe a waiver of or |a'eelnde the erre'cisc of any tight or reruedy.

13. .loint and Several Liability; Co-signers; Suocessors and Assigns Bound. Borran covenants
and agrees that Borrower's obligations and liability shall b'e joint and several Howevcr. any Borroth who
cri-signs this Security bistrnmcnt but does not execute the Note (a "co-siguer“}: (a) is assigning this Security
instrument only to mortgagel grant and convey the co-signer'sintrrcst in the Proprrty under thc terms of this
Security lustrmuent: (b) is not personally obligated to pay the sums secured by this Security bistrnment; and
[c} agrees that Lender and any other Borrower can agree to extend modify. forbear or make any accommodations
with regard to the terms of this Security lustrument or the Note without the co-signrx' s consentl

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
obligations under this Security lastrumeat in midng. and is approved by Lender. shall obtain all of Borrower's
rights and benelits linda this Security btstrurnent. Borrowa' shall not be released from Borrowa's obligations
and liability under this Security lrtstr~umnnt miless Lendu agrees to such release in writiug. The covenants and

agreements of this Security Irtstrurneut shall bind (tarccpt as provided in Section Ztl) and beuclit the successors
and assigns of Lender.

FLORIDA - Single Family - Fannie Macll"reddie Mao UNlFORM INSTRUMENT Foré/Ztt}lt} 1101
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14. Loan Charges. Lenda' may charge Borrower fees for services performed in cormection with
Borrower'sdefault, for the purpose ol' protecting Lender‘sinte'cst in the Property and rights under this Security
Instrument, includingl but not limited to. attorneys fees. property inspection and valuation i`ees. In regard to
any other fees. the absence of e)qtess authority in this Security lostromerrt to charge a speciic fee to Borrower
shall not be construed as a prohibition on the charging ol` arch i`ee. Lendrs may not charge fees that are expressly
prohibited by this Security instrument or by Applicable Law.

If the Loan is subject to a law which sets marrirmun loan charges and that law is iinally integrated so
that the interest or other loan charges collected or to he collected in connection with the Loan exceed the po'mined
limits, them {a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the
permitted limit: and (b) any sums already coilected from Borrower which exceeded permitted limits will he
refunded to Booawrr. Londrr may choose to make this reitnd by reducing the pincipal owed under the Note or
by making a direct payment to Borrowor. lf n refund reduces pshlcipal. the reduction will be treated as a pmial
gepaymenl without any trepaymeut charge (whether or not a lacpayment charge is provided for under the Note}.
Borrower's acceptance of any such refund made by direct payment to Borrower will constitute a waiver of any
right of action Brn'rotver might have arising out of such ovtscbarge.

15. Notices. All notices given by Borrower or Lender in connection with this Security Instroment must
be in writing Any notice to Borrower in connection with this Security Irtsnument shall he deemed to have been
given to Borrower when mailed by Hrst class mail or when acmally delivered to Borrowrs's notice address ii` sent
by other means Notice to any one Borrower shall constitute notice to all Borrowers unless Applicahle Law
evr]xessly require otherwise The notice adtkms shall he the Property Address unless Borrower has designated a
substitute notice address by notice to Lender. Borrower shall gomptly notin Lender Borrower's change of
address. If Lender specifies a gocedure for reporting Borrowe"s change of address, then Borrower shall only
report a change of address through that specified procedure Tho'e may be only one designated notice address
under this Security lnstrument at any one iime. Any notice to Lender shall be given by delivering it or by mailing
it by iirst class mail to Lenddr's address stated herein unless Lender has designated another address by notice to
Borrowo. Any notice in connection with this Security lnstrnment shall not be deemed to have been given to
Lender until actually received by Lender. ii any notice required by this Security Instrnntent is also required
under Applicable Law. the App]icable Law requirement will satisfy the correspondirg requirement under this
Security Instrnment.

16. GoverningLaw; Sever ability; Rules of Construction. This Security lnstru.ment shall be governed
by federal law and the law of the jurisdiction in which the Property is located. All rights and obligations contained
in this Security lnstrnrnent are subject to any requirements and limitations of Applicable Law. Applicable Law
might explicitly or implicitly allow the pardee to agree by contract or it might be sticnt, but such silence shall not
be construed as a prohibition against agreement by contractl In the event that any provision or clause of this
Security Instrument or the Note condicts with App]icable Law. such conflict shall not affect other provisions
of this Security histrnruonl or the Note which can be given rdioct without the conflicting provision

As used in this Security Instrnment: (a) words of the masculine gender shall mean and include
corresponding neute: words or words of the fernlnine gender: (b) words in the singular shall mean and include the
plural and vice versa; and (c) the word "rnay" gives sole discretion without any obligation to take any action.

17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security lnsu‘ument.

18, Transfer of the Property or a Beneticial Interest in Borrower. As used in this Section 18,
"loterest in the Property" means any legal or beneficial interest in the Property. including. but not limited to. those
beneficial interests transferred in a bond for deed, contract for deed. installment sales contract or escrow
agreement the intent of which is the transfer of title by Borrower at a future date to a}mrchaser.

 

 

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lfall or any part of the Property or any Inte'est in the Property is sold or transferred (or if Borrower is
not a natural person and a beneficial intaest in Bonowa' is sold or transferred) without Lender‘s prior written
cons-t, Lender may require immediate payment in full of all sums secured by this Security Instrument. However,
this option shall not be exercised h y Lender if such exercise is prohibited by Applicahle Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15 within
which Brnrowtr rrmst pay all sums secured by this Security Instrument. lf Borrower fails to pay these sums prior
to the expiration of this period, Lender may invoke any remedies permitted by this Security Instrument without
i`nrthm notice or demand on Borrowa'.

19. Borrower's Right to Reinstato Ai’t.er Aoce.leration. If BU!TUWH meets Ceriain COIldiiiOIlS,
Borroth shall have the right to have enforcement of this Security Instrument discontirmed at any time gior to
the earliest of: {aJ live days before sale of the Property putnam to any power of sale contained in this
Security histrument; (b) such other period as Appl.icahle Law might specify for the termination of Borrower's
right to reinstate; or (c) entry of a ju@rrtent enforcing this Security Instrument. Those conditions are that
Borrower: {a} pays Lender all sums which then woer he due under this Security Instrument and the Note as if no
acceleration had occurred; (b) cures any default of any other covenants or agreements; (c) pays all expenses
incurred in enforcing this Security lnstrument, including, hut not limited to, reasonable altorneys‘ fees.
property inspection and valuation fees, and other fees inclined for the purpose of protecting Lendcr'sintrrest
in the Property and rights under this Security instrument and (d) takes such action as Lender may reasonably
require to assne that Lendi:'s interest in the Property and rights under this Security Instrument. and
Borrower'sobligariou to pay the sums secured by this Security lustrunicat. shall continue uncharged Lender may
require that Borrowrr pay such reinstatement sims and expenses in one or more o[ the following forms. as
selected by Lenda': [aJ cash: (b) money erder; [c} certified check, bank check, treasurer's check or cashiu's
check. provided any such check is drawn upon an institution whose deposits are insured hy a federal agency,
instrumentality or entity. or {d] Electronic Funds Transfer. Upon reinstatement by Borrowrr, this Security
instrument and obligations seemed herd)y shall remain fully effective as if no acceleration had occurred
However, this right to reinstate shall not apply in the case of acceleration under Section iB.

20. Sale ofNote; Chunge of Loan Servicer; Notice of Gr ievanee. The Note ur a partial interest in the
Note {together with this Security lustrusnent} can he sold one or mere times without prior notice to Borrower. A
sale might result in a change in the entity [known as the "I.oan Strvicer") that collects Prriodic Paytnents due
under the Note and this Security Instrument and performs other mortgage loan servicing obligations under the
Note, this Security Instrument, and Applicable Law. There also might be one or more changes of the Loan
Servicer unrelated to a sale of the Note. If there is a change of the Loan Sa'vicer. Borrower will be given
written notice of the change which will state the name and address of the new Loan Strvicet. the address to
which payments should be made and any other information RESPA requires in connection with a notice of
transfer of servicing ll' the Note is sold and thereafter the Loan is serviced by a Loan Servicer other than
the purchaser of the Note, the mortgage loan servicing obligations to Borroth will remain with the Loan
Servicer or he transferred to a successor Loan Servicer and are not assumed by the Note purchaser unless
otherwise provided by the Note p_urchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
individual litigant or the metnh_a of a class) that arises from the othe' party's actions pursuant to this Security
Instrument or that alleges that the other party has breached any provision oi`, or any duty owed by reason of, this
Security histrmncnt. until such Borrowrr or Lender has notified the other party {with such notice given in
compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto a
reasonable period after the giving of such notice to take corrective action l[ Applieable Law provides a time
period which must elapse before certain action can be taken. that time period will be deemed to be reasonable for

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purposes of this paragraph The notice of acceleration and opportunity to cure given to Borrower pursuant to
Section 22 and the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to satisfy the
notice and opprntunity lo take corrective action provisions of this Section 20.

21. Hazardous Substances. As used in this Section Zl: {a] "Hazardous Substances" are those substances
defined as toxic or hazardous substancesl pollutants or wastes by Euvirnoinental Law and the following
substances gasoline. kerosene. other flammable or toxic petrole products toxic pesticides and herbicides
volatile solvents. materials containiig asbestos or formaldehyde and radioactive mato'ia]s: (b) "Euvironnientai
Law" means federal laws and laws of the jurisdiction whrrc thc Property is located that relate to health, safety or
environmental protection; (c) ”Environmentai Cleanup" includes any response action. remedial action. or removal
action, as defined in Envirorunental Law: and (d) an "Enviroinnental Condition" means a condition that can cause,
contribute to. or otherwise trigger an Environrncntal Cleanup.

Borroth shall not cause or permit the presence use, disposal storage, cr release of any Hazardoos
Suhstances, rr threaten lo release any Haz.ardous Substances. on or in the Property. Borrower shall not do. nor
allow anyone else to do. anything affecting the Property (a) that is in violation cf any anircmnental Law. {b]
which creates an Environmcutal Conditiou, or (c) which, due to the presence, use, or release of a Hazardous
Substance, creates a condition that adversely affects the value of the Property. The preceding two sentences
shall not apply to the presence use, or storage on tlie Property of small quantities of Harardous Substances
that are generally recognized to be appropriate to normal residential uses and to maintenance of the Property
lincinding. but not limited to, hazardous substances in con.uimer products].

Borrowe: shall promptly give Lender written notice of (a) any investigation claim dernand. lawsuit or
other action by any governmental or regulatory agency or givate party involving the Property and any Haaardons
Substance or Em'ironmentai Law of which Borrower has actual knowledgell lh) any Euvironnieutal Condition,
including but not limited to. any spilling. leaking, discharge, release or threat of release of any Hazardous
Substance, and (c) 'any condition caused by the presence use or release of a Hazardous Substance which
adversely affects the value of the Property. If Borrower learns. or is notified by any governmental or
regulatory authority. or any private party, that any removal or other remediation of any Hazardous Substance
ali`ecting the Property ls necessary. Borrowo' shall promptly laire all necessary remedial actions in
accordance with Environniental Law. clothing herein shall create any obligation on Lender for an Environnientai
Cleanu .

p NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22. Acceleration; Remedim, Lender shall give notice to Borrower prior to acceleration
following Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to
acceleration under Section 18 unless Applicable Law provides otherwise]. The notice shall specify: (a)
the default; (b] the action required to cure the default; (c} a date, not less than 30 days i‘j'orn the
date the notice is given to Borrowcr, by which the default must bc curcd; and (d) that failure to cure
the default on or before the date specified in the notice may result in acceleration of the sums
secured by this Security lnsti'uu:lent, foreclosure by judicial proceeding and sale of the Property. The
notice shall further inform Borrower of the right to reinstate after acceleration and the right to
assert in the foreclosure proceeding the nonexistence of a default or any other defense of Borrower to
acceleration and foreclosurel if the default is not cured on or before the date specified in the
noticc, Lender at ita option may require immediate payment iu full of all sums secured by this Security
Instrument without further demand and may foreclose this Security Instrument by judicial proceeding
Lender shall be entitled to collect all expenses incurred in pursuing the remedies provided in this
Section 22, including, but not limited to, reasonable attorneys' fees and costs of title evidencel

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FLORIDA - Singlc Family - Fannic Machrodtlic Mac UNiFORM lNSTRUMENT I"orrg 3010 lIUl
(Page 13 a!` 1_9 C3008DF1.

 

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23. Release. Upon payment of all sums secured by this Security lnstrument. Lender shall release this
Seonity Instrument Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing
this Security lttstmntent, but ortly if the fee is paid to a third party fcr' services rendered and the charging of the
fee is permitted under Appl.icable Law.

24. Aitorncys‘ Fces. As used in this Security Instrument and the Note. attorneys' fees shall include
those awarded by an appellate court and any atttrneys' fees inorrred in abanltrnplcy proceedingl

25. Jury Trial Waiver. The Bca'rower hardly waives any right to a u'lal by jury in any action,
proceeding claim. or counterclaiml whether in contract or tort. at law or in equity, nisi.ng out of or in any way
related to this Security Instrument or the Note.

BY SIGNINC BELOW, Borrower accepts and agrees to the terms and covenants contained in this
Security Instrument and in any Rider executed by Borrower and recorded with it.

Signed, sealed and delivered in the presence of:
Witnesses:

W/E M (se))

actsz n SHAPIRO ' -Bonawar

 

Printed Nante (SH!)
-Borrower

 

(~W@I)
-Borrower

 

 

Printed Name

(~'>Vel)
-Bcrrower

 

(SH!)
-Ba'rower

 

(S¢@l)
-Borrower

 

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FLORIDA - Singlc Family - Fannie Mac/Frcddic Mac UNIFORM INSTRUMENT Form 3010 1101
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B00k3328/Page1903 CFN#2006184285 Page 14 Of 16

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INDIVIDUAL ACKNOWLEDGMENT
sTATE 0F FLORIDA

coUNTY 0F L_~C\_L/i,

J<»\
The foregoing instrum-twas acknowledged before me this Lday of ME&-__ ,by
]OSEPH R SHAPIRO

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who' is personally known to me or who has goducet'l\ *t'-J\§‘E&L, L_)~£E,\~Ed-Q

as identification

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£.»- Commission # DD489937

= Expires: MAR. 23 2007
Bonded Tl'm.r Adamic Bondjng Co. lnc.

 

 

 

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BO0K3328/Page1904 CFN#2006184285 Page 15 of 16

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Chicago Title |nsurance Company

Commitment Number: -

SCHEDULE C
PROPERTY DESCR|PT|ON

The land referred to in this Commitment is described as follows:

A|l that certain land in LAKE County, State of FLOR|DA, viz:

THE EAST 605.00 FEET OF THE NORTHWEST ‘/4 OF THE NORTHEAST ‘/4 OF SECT|ON 18, TOWNSH|P 19
SOUTH, RANGE 28 EAST, LAKE COUNTY, FLOR|DA

Parcel/Tax l.D. #: 18-19-28-000100000109

Common|y known as: 24700 Wa|kabout Ranch Road, Sorrento, FL 32776

ALTA Commitment

S°"°"“‘°° _

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Prepared by. Karen A. Thulr¢son. [`.eqmrr: g RECBRMH§ FEES lo_oo
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leon Nw 49‘* suw_ suing 120

IHDEKIHE FEES I.UU
RET"RN m H E`orl Lauderdaic. Florida 33309

Telephone: (954) 45 3-0365
Faesimile: (954) 771-60$2
AsslcNMr,N'l‘ oF Mom'GAGe

KNOWALL MENBY THES'E PRESENIS:

    
      
 

THATM<)GAGEF. ali ' _. __
G%EL\_§`E!,E£G%§ §§§A[!!:]&|, SER\'ICE residing or located at -
herc'm' `v “‘astht '., .fofa:»da\ " "` ol`thcsum
nf S | .l'l£l Doi|ar and outer good and va|uobic \:orlsitftert\tionl the receipt of which is hereby acknowledged does havby
ll.t` bargain, sell, asi 1,t:rm1.\'fcr and set over nom UDYMAC BANI¢ F`.S.B. residing or located ahme L&-
&M, M., w 2 .¢rU€ftN""D-C: &123 hcrcindesigmiedastl~teaasignc¢.the
lmdgngc executed by IOSEFI-Z R SIU\PIRD N'K}A JGSEPH RICH.ARD SHAP¥RO recorded December I‘J, 1095 in
Lalce County. F!orida al Both 3318 and Page 1890 motivating the property more panieuia:ly described as Fol|crws:

   

 

THE EAST 605,00 FEET OF THE NORTH.WIIST lH OI"'I`l-IE NORTHEAST llli OF
SECTIDN 185 WWNSH[P 15 SOUTH, RANGE 28 EAST. LAKE COUNT'¢’, Fl.URlDA.

together with the now and each and every other obligation described in said mortgage and the money due and to
become due thereon

’DO H.AVE AND TO HOLD the same unto the said assignee, its successors and assigns forever, but without recourse
on the mtdersigned, effective as ol'

 

fn Il"'r.rnm tvth the said Assignor has hewth act his hand and seal or caused litem precise lo bn ' ad by its
pmpa eochm md its corporate seal to bo hereto aHixad this 2, § day ol"dMH
, .

 

MORTGAGE ELE(,'|'R()NlC REG!S`I'RATION
SYSTE`MS INCORPORATED AS`NOMINEE FOR
GREENLIGHT FTNANCIAL SERV|CES

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A‘I'rEsr: ln.
PRIN'I' NAMP; 0 SDII

signed in the pM w Vice Presldent
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"“'"‘ ""M;je%§‘j‘v““r_:

wrmr.=ss: m >. f

Print Name:
STATE OF
COUNTY OF Williamson

 

PERSONALLY APPEARED EH?RFUE. theundersigned authority `m and for the aforesan county and state on this
the z ( day or 0 . ,wvhin myjurisdiujon. nw within named who

admowledged lo methat (s)he is ' and who are personally
known to me or has provide as lda'nli'l"ltmtmn. that for and on behalf of Mortgage Ei¢ct:rooi:
R¢gistratioo Systems Inoorpmted Nomlnee For Greenlighl Fina ndal S¢nio¢s and aa its act and deed (s)he

executed the above and foregoinginstrument, abel first having been duly aulhorimd by Mortgage Ele-rlmnic
Reglslratlon Syltema Inmrporatad Aa Nominee For Gmnlight Finandal Servicel to do so.

WITNESS my hand and offloial seal in the County and State last aforesaid this Z¢S, day of_

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NOTARY PUBL|C

MA| t.A THAO
Nolaly Fublic. Su!e 01 Taxas

My Commiss\on’ Expiros
June 15. 2011

 

Book3717/Page1380 CFN#2009001516 Page 1 of 1

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NEIL KELLY, LAKE COUNTY CLERK OF THE CIRCUIT COURT
REC FEES: $l0.00

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ASSIGNMENT OF MORTGAGE
KNGWA.LL MENBY THESE PRESENT'S:

TH/t?" FD|C AS RECEIV£R FOR lNDYMAC BANK E.S.B. residing_or located :u Biltl E. Walnut Street l‘ASi\DE`.NA.
C.i\ 9 l 'll]l heroin designated ns thc nssigtmr. l'nr and in consideration ¢)i` the sum o|' § | .l.ll't Du|l'.u‘ mtd other good and valuable
consideration tl'.t'. receipt ol‘ whi\'l\ is hereby ncrl~'nm\'ledgml, duu,\' hereby gt:mt. harp:.\in. sc|l_ assign lmr\$l`\.'r :lnd sat m cr unto
OEFW= E§“l` 13ng FSB n:sii.l`lngor located nt: lNDYMAC BAN}\' 383 E. Wt]lr‘tt.l\ S!TCEI l’J'\SADENA. CA 9110[
harm designated as thc ns_<igr\c.c, thc mortgage :>.ccutcd by.lUS|';l’H ll Si |.¢\P|RU NK..".-'\ JUS!;`Pt| ]thHARD SHN’IRO
recorded December 191 1006 in i_nl~'c Couniy, l-`torida nl BOOK illlt and P.-\Gl:`. 1390 encumbering the property inure
particularly described as follows:

THE EAST 605.00 FEET OF THE NORTHWEST 1/4 OF THE NORTHEAST ll4 OF SECT]ON 18. TOWNSH|P 19
SOUTH, RANGE 28 EAST. LAKE COUN`|`V, FL()R|DA.

TO l-lAVE AND `I`O ll()t.D thc same unto thc said ussigncc, its successors and assigns t'orcvcr. but without recourse on lhe
undersignedl

this assignment/deed is made without rccoursi:_ representation or \vnnunl_\', express ur implicd, by |hc l DlC m any capacity

In Wirrmss l+‘.ii¢rmf, thc .\'.tid /\ssignor has horizontal sc\ his hand and seal or cuom§gtcz'.grvie[;\" to bc signed by an attorney in
fuel ufthc client and its corporate seal to be hereto allixcd this day 01 . 201].

 

FEDERAL DEPOSITI Sl|RANCE CORPORATLON AS
RECEW 0 AC BANK, FSB

  
  
  

ATTEST:

 

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Atw‘mzy in Fact

PR|N’|` NAME:

Signod in thc present

  
 

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PERSUNA l l| t‘:* i‘\PPI-IARF.D BI:`.Ff)ll.li tel |-.. thc nmicrsi\gn\:d authority in and l`.:r1he aforesaid unun\_\' ann sr:ne_ nn l|\1s1tu:
day ul' . within my tu.'isdi::tinn. lhl: within named who acknowledged 10 me
that ls}hc is m 35 and \u|:u is persun-.lll} known tn mr m lutz provided 'Cl,T-A.{_,E.A_.

 

' _ w identification thin for and on bc'h.l|t'l\f FE[!F.RAL I`JE.POSIT INSURANC`E
CORPC|'RATlON A.‘§ REC£l\-’ER FDR lN|.)Yl\¢'lAC IM|'\H(q FSB amd asil.~i .n;! :uul tierthth vacated thc above
and foregoing il\-§\rusr\m\t, utter lirsl hnving been d\tt,\l authorized by FE[)ERAL DEPOSIT lNSU RANCE
CORPDRAT|ON AS RECF.l\'ER FOR |ND’YMAC BANK. FSB . to do so.

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Prepared by: wdougles
Robertson, Anschulz & Schneid, P.L.
6409 Congress Avenuel Suite 100

lNSTRUMENT #2014019085

OR BK 4442 PG 1689 - 1689 (`i PGS)
DATE:2/20/201411:03:13 AM

NE|L KELLY. CLERK OF THE ClRCU|T COURT
LAKE COUNTY

 

Boca Raton, FL 33487
Telephone: 561-241-6901 )RETHRN RECORDING FEES $10.00
Fax: 561-241-9181

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ASSIGN_B_N_ENF OF MORTGAGE

DNEWEST BANK FSB. its successors andior assigns. "Assignoi*' whose address is cr'o chen Loan
Servicing. t.LC. 1100 Virginia li)ri\rel Suite 175. Fort Weshington. PA 19034, in consideration for the sum of
Ten Dol|ars and 00H 00 cents. and other valuable considerations received irorn or on behalf of:

OCWEN LOAN SERVlClNG, LLC, "Aesignee" whose address is 1100 Virginia Drive, Suite 1?5, Fon
Washinglon, PA 19034 at or before the ensealing and delivery of these presents the receipt whereof is
hereby acl<no\rrlr=~dgr=..»dl did grant bargain sel|, assign, transfer and set over unto the Assignee the certain
Mortgage bearing the date of November 1?, 2006 by JOSEPH R SHAP|RO in favor of Mortgage
Etectronic Registration Systems, lnc. as nominee for GREENLlGHT FiNANCiAL SERVlCES end
recorded in Ofiicial Record Book 3328 at Page 1890 of the Pub|ic Records of Lake County, Florida upon
the following land in said county:

THE EAST 605.00 FEET OF THE NORTHWEST 1/4 OF THE NOFtTHEAST 1/4 OF SECTlDN 18, TOWNSH|P 19
SOUTH, RANGE 28 EAST, LAKE COUNTY, FLOF|.|DA.

That is described in the aforementioned Mortgage

TO HAVE AND TO HOLD the same unto the Assignee. heirs, legal representativesl successors and assigns
forever.

iN WITNESS WHEREOF the assignor has caused signed (end seated, as epplicable) this Assignment of

UIJ /»~!¢*//

Wimesses: Asslgnor(s)

§§ n?%s signature
§[_'ipfmiie MQ§§
pen ed name

wi moss signa?r;e
amth a”'}vn_'u')
printed name

STATE OF EEHB§Y.LYANLB

COUNTY DF M_QNI§QE.BI

/_
The foreaoino instrument was acknowledued before me this 30 dev of WW‘Q?L . 2014 bv
Lori Arm Dasch as Authorized Signer, chen Loan Serviclng, LLC, Atrorney n Fnct of ONEWEST BANK

FSB on behalf of the assignor. Slhe is personally known to me or has produced f/'C“"~"e-" as

identification
/f//»f€…

hicmeth

 

 

 

 

Keily `_t`. Cunninghilm

    

women EA,
KELLYrcuN~' LS
. ~ mr
C§H<>ilemede,:p§i:£l§;ill§a<t:? Pub"°
ftl-mn Er res Fehm`ary Y§oie

 
 
       
        
      

   

 

 

 

Case 6:19-t:)k-01568-CC.] DOC 14 Filed 04/11/19 Page 30 of 38

\r'==`~ti

When Recorded Retum To:
lndeoomm Global Servloes
1260 Energy Lane

St. Paul, MN 55108

This instrument was prepared by:

Naveen'kumar N ‘
1260 Energy Lana

ST Paul, MN 55108

Assignment'of Mortgage

  
 

Datedt August 11, 2015 Loan'.

investor iii
Ral`erenoe'
Package
- Docurnsr
Fe¢ urge received owen Loan servicing LLc, refer wonthng amd. strain ioo. wm palm
Ekra:h, FL_SMDB. lho undersigned hereby grants assigns end transfers to Farluai Natlonsi Mortgage
Msocletlon. in eun¢~.emm or uslgna. 1431 Da|h:a Farkway. Suite 100th Datlm, 'Dt 7515€, all
beneficial interest under _a connie Mortgage dated No\rnmbor 17. 2008 discerned by JOBEF l-t t-`l.
SHAPIRO. AN UNNI.ARRtED MAN and recorded in Bnolr. 3m on Paqo{s] 1890 as i]boornenl Numbar

zimmsz on december 19. zone al the nrnr:iar record er the county ndcord=r or mo cannot
Florlda. .

comm F.mml national Mortgage magnum lar this lowest do Setamrr, lnc.. 145§3 sw thkan
Wey. #200. Beavmofl. OR 97005. telephone HHEHiwblii.-which ls responalb| a fur receiving
payments

WITN BBEE: _ chon Loan Servicing. LLC ‘

Z/£\ BY'
wi eeséi'jit'uiué Weah - Samuo\'nand St:rmdmo.
' - - g Anslsuml Seu'eiary

witness 2: Merioej Gardner

STATE OF lilllnnlsoiz )
COUNTY Ramuy )SS

On Augn¢l 11. 2015 before rne. Da\rm J Pndt . Notary Fubttc in and lot said Slelc personally
appeared Samu¢l llano Strarrdmo . A\\lotlnt annum of chan Loan Servldng. LLI.':. parmlty
known to ms to be the person whose name la subscribed to the witth instrument and ncbw~ladg¢rj to
mo that sine examined the same ln Nsmer authorized capaciw. and met by hamm signature on the
instrument tire entlry upon behell di which tim person acted executed the msinmont, vt"l‘lNEBS my ‘
hand end official sea\. _ -

 

Dzwn J F'ir:ir., Notary‘Pub!lc
My Commission axpires: Januar',' 31, 2013

DAWN J. PECK

   
 

 

INSTRUMENT#: §§§@@ib%?i<'%h'?>€i§<€@ha [YQ;? tag Eii@i:§4/Jal/2920l?aga§;180f5% 20 AM

GARY J. COONEY, CLERK OF THE CIRCUIT COURT & COMPTROLLER, LAKE COUNTY, FLORIDA
REC FEES: $18.50

When Recorded Return To:

Fannie Mae

C/O Nationwide Title Clearing, Inc.
2100 Alt. 19 Noth

Pa]_m Ha_rbor, FL 34683

CHL Loan Numbei_

Fannie Mae imm Nn
NTC Numbe

ASSIGNMENT OF MORTGAGE

["OR GOOD AND VALUABLE CONSI])ERA'I`ION, the sufficiency of Which is hereby aclttto\'vledgedj the
undersigned I*`EDEKAL NATIONAL MORTGAGE ASSOCLA'[`ION, WHOSE ADI)RESS IS 5600
GRANITE PKWY., BUI[.[)ING Vll, Pl.ANO` TX 750?.~|-, (ASSIGNOR), by these presents does con\tey, grant,
assign‘ transfer and set over the described Mortgage with all interest secured Lhereby, all liens and any rights due
01‘ to become due thereon to U.S. BANK TRUST, N.A., AS TRUSTEE FOR LSF!l MASTER
I’ARTICIPA'I`ION 'I`RUS'I`, WHOSE -AI)DRESS IS 1380] WII{ELESS WAY, OKLAHOMA C`{'I`Y, OK
73134, l'[S SUCCESSORS AND ASSIGNS, (ASSIGNHE).

Said Mortgage was made by .§OSE!’H R SHAPIR() and recorded in Of'ficial Rct:t:it'ds of the Clerk of thc Circuit
Court of LAKE County. Florida, itt Book 03328 and Page 1890, upon the property situated in said State and
County as mine fully described itt said Mortgage

Dated this 19th day of Februm'y in the year 2019

FEDE`RAL NATIONAL MORTGAGF. ASSOCIATION, by NATIONWIDE TITLE CLEARING, INC., its
Attorney-in-Fact

 

 

 

 

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\\\ \“ H'F l
`\\ _......, /f/
' \ ¢°- .°
. '::. ,* '0 jo
'sUs"AN HICKS § »oQRPORA;. ':
vlcE PRESIDENT _.°: z _____ 6` ":’
All persons whose signatures appear above have qualified = "', ,'° §
auLhority to sign and have reviewed this document and al ‘¢..SEAL .~ _=-
supporting documentation prior to signing /, '-. ,»" _$."
’/, o
/,I; `\\\
'lltiltltt\"
CA'RLY MALL~IET ALA-N BA,KER

WlTNESS WIT~NESS

Docnment Pl'eoared Bv: Dave LaRose)‘NTC_.
FNM.r

2100 Alt. 19 North. Palm Hm'bor. FL 34683 (800)346-9152
DOC!‘

       
   

INSTRUMENT# 29§§%§§3€)%§*<'01§§§'§5€>1< NQ£SBAGEH@Q|;@4/11/1:RGEPageB220f 38

CHL Loan Nu mbe
Fannie Mae I.mm N.
NTC N umbel

STATE OF FLORIDA

COUNTY OF PINELLAS

The foregoing instrument was acknowledged before me on this 19th day of February in the year 2019, by Susan
Hicks as VTCE PRESIDENT of NATIONWIDE TTTLE CLEARING, INC. as Attorney-in-Fact for FEDERAL
NATIONAL MORTGAGE ASSOCIATION7 Who, as such VICE PRESIDENT being authorized to do so,
executed the foregoing instrument for the purposes therein contained. He/she/they is (a_re) personally known to me.

, ALYssAsAY
~z°?*§ °*-'v'»_

Q/L/l/MDL : , _ NoTARY Puauc
_/Q §J.\_U\ :_; _-*E sTATE oF FLoR\DA

_ .'_.' coMM# 66249609
ALYSSA SXY <Y "'§‘.\.=?,...\‘ ExPlREs:1o/2/2022
COMM EXPIRES: 10/02/2022

Document Prenaretl Bv: l)ave Lal{ose:‘N'|`C, 2100 Alt. 19 Norlh. Palm l'larhor. l~`l_, 34633 (800)346-9152

h DOCR-

  

Case 6:19-bk-01568-CC.] Doc 14 Filed 04/11/19 Page 33 of 38

EXhibit “C”

Property De£§H§el§a:i£isQ€tmlor£i§t%@&@ApMoed4 Filed 04/11/19 Page 34 of 38 Page 1 Of 5

Se|e'ct|eeinguage V
PROPERTY RECORD CARD

General information

Owner

N _ LOVE LlSA D Alternate Key: 1597218
ame.
Mailing 24700 Parcel Number_ 18-19-28-0001-000-
=,Address: WALKABOUT ` 0 00109
RANCH RD 10006

SORRENTO, Mi||age Group and City: §(UNINCORPORATED)
E;:aztg;a”mg vrural certifie§i:il"/lil”i§§e B£té: "ili.?eoe ' `
Address ------------------- Trash/RecyclingNVater/lnfo: ix Publlc Services Ma-

Property ‘54700
§Location: WALKABOUT Property Name:

RANCH RD Submit Prerrty Name u
SORRENTO z

FL 32776 ‘-§QUQM-_QQM_§_Bt/§
were Schooi lnformation: MQ “"

&,Qp&m, Schooi Boimda:y Me_p_s

1.|

_Locaiion 0

Property E 605 FT OF NW1/4 OF NE 1/4 |
Déscription: ORB 3707 PG 1595 \

NOTE: This property description is a condensediabbreviated version oithe original description as recorded on deeds or other legal instruments in
l|\e public records ot the Lake County C|erk ot Court. lt may not include the Puhi|c Land Suhrey System's Section, Towl\ship. Range information or
the county in which tl\c property is located. lt is intended to represent ll\e land boundary only and does not include easements or other interests ot
record. This description should not be used for purposes ot conveying property tll|e. The Froperty Appralser assumes no responsibility for t|\e
consequences of inappropriate uses or interpretations of tile property description.

Land Data
Line Land Use Frontage Depth Notes Ul`:`?t's Type 3:::: Land Va|ue z
1 siNGLE FAM'\\'_Y (0100)\%~ 0 M_` 0 1 _AC $0.6(`)` $19,500.00
W-\CANT RESlDENTlAL
2 {ODUO) 0 0 17 AC $0.00 $168,300.00
C|ici< here for Zoning |nfo ii FEMA Flood
, Me
Residentia| Bui|ding(s)
Buiidin{g(OOfl
Residential Sing|e Family __ Buildi_ng Va|ue: $200,461.00
Summary
Year Bu"t 2002 Tota| l_lvlng Area: Centra| A/C: YeS ’ Attached Garage:
2489 0 , Yes
Bedrooms: 4 3 Full Bathrooms: 2 l-ialf Bathrooms: 1 Fireplaces: 1

incorrect i3or.nl'.roc>irr1 Bath, or other information? t-

Section(s)
Section Section.|. a Ext.Wa|| No. Floor Finished Basemem Basement Map
No. yp Type Stories Area Attic Finished Color

http://WWW.lakecoprop appr.corn/property-detaiis. ast?AitKey=i 5 97218 3/28/2019

Property De§§§el§t£@oaw@§§&§»&§AppmerM Filed 04/11/19 Page 35 01 33 Page 2 0f5

1 F|N|SHED Stucco/Brick 1 2489 N 0% 0%
L|VlNG AREA (003)
(F|-A)

OPEN F’ORCH NoWal|Type 1

2 FileHEo (oPF) (000) 176 "i 0'% 0%
GARAGE .

3 FlNlSHEo (Soig§;°“g"°k 1 504 N 0% 0%
STONE (GCF)

4 OPEN PORCH No WaiiType 1 516 N 0% 0%

FlleHEo 10PF)(000)

\/iew Largeri Printi Save

l'~J

Miscei|aneous improvements

No, Unit Depreciated
N°' Type Units Type Year Va|ue
0001 ewluuino Pool_ geot) W 420 sF 2003 $10,889.00
0002 PooL oeol<iNG 1PLoi 612 sr= 2003 $2,305.00
0003 HJACRPF;oRT/POLE sHEo - uNHNlSHED 4800 SF 2003 519’123_00
0004 uriL\TY BU\LD|NG -` uNFiNiSHED wool 360 SF __ 2003 $742.00
0005 BARN (BRN) _ 2240 _ sF 2003 $22,203.00
0006 (SSC]E'TQ'E)ENED EN`CLOSED STRUCTURE 2121 SF 2005 $2,840.00

Saies History

No`l’E: This section is not intended to be a complete r.?iain of title Mditiona| official booklpoge numbers may de listed in the properly dewip|.ion above and.~'or

recorded end indexed with the Gierk of Coul‘\. ol | |i rch a h l er' n
Boo klPage g::: instrument QualifledlUnquaiified Vacantllm'proved Saie Price
E§.?_t 1 ~ -
1.§§}-5_ 12/2/2008 Probate Order Unquailned improved $0.00

http ://WWW.iakecoprop appr.com/property-details aspx?AltKey=l 5 9 721 8 3!2 81’2 U l 9

Property De@t¢'iis@ Balt@{blu£ijz%€pé}@.]Ap}lDBCM, Filed 04/11/19 Page 36 Of 38 Page 3 0f5

 

 

2391 l 8/20/2003 Warranty Deed Qualined improved $540,000.00
1638

1980 l .

2187 7/27/2001 Warranty Deed Qua|lned Vacant $125,000.00
662 / 2075 1/1/1976 Mis° ouaiiried vacant $30 000 00
_'_ Deed/Document ’ `

C//'ck here to search forrnortq_ages. liens and other ieq;i_i__r_ioeuments. o

Va|ues and Estimated Ad Vaiorem Taxes o

Values shown are 2019 WORK|NG VALUES subject to change until certified.
lite Market Vaiuo listed below is not intended to representthe anticipated selling price of the property and shou|:,l not `ee relied upon by any individual or
entity as a determination of current market value

. Market Assessed Taxabie . Estimated
Tax Authomy Va|ue Vaiue Va|ue M'"age Taxes
LAKE COUN l Y BCC
GENERAL FUND $446,363 $446,363 $446,363 5.11800 $2,284.49
LAKE COUN Y MSTU
AMBULANCE $446,363 $446,363 $446,363 0.46290 $206.62

LAKE CouNTY l\/\sTu FlRE s446,363 $446,363 )$446,363 0.47040 $209.97
ScHooL BoARo sTATE $446,363 6446,363 5446.363 4.10700 $1,833.21
scHooL BoARD LOCAL $446,363 $446,363 $446,363 2.24800 $1,003.42
LAKE co`uNTY MSTU"“` " " v

STORMWATER $446,363 $446,363 $446,363 0.49570 $221.26

ST JOHNS R|VER FL

WATER MGMT D|ST $446,363 $446,363 $446,363 0.25620 $114.36

LAKE COUNTY VOTED

DEBT SERV|CE $446,363 $446,363 $446,363 0.13240 $59.10

LAKE COUNTY WATER

AUTHOR|TY $446,363 $446.363 $446,363 0.49000 $218.72

Bgz|-TH LAKE HOSP|TAL $446,363 $446,363 $446,363 0.98000 $437.44
Tota|: Tota|:

14.7606 $6,588.59

Exemptions information

This property is benefitting from the following exemptions with a checkmark /

Leam Vi`eW the

Homestead Exemption (first exemption up to $25,000) w iM/
Lc;arn View the

Additionai Homestead Exemption (up to an additional $25,000) M£e l_a_w
Limited income Senior Exemption (appiied to county miiiage - up to l__earn_ l/i'ew the

$50,000) More Lc-)_W
Limited income Senior Exemption (app|ied to city mil|age - up to Learr) \/iew iii

$25.000) o Mo_r@ La_W
Limited income Senior 25 Year Residency (county mil|age oniy- /__earn V/'ew the

exemption amount varies) More Law
Learn _\//'eW_the_

WidoW / Widower Exemption (up to $500) More Law
L_earr_) \/iew the

Biind Exemption (up to $500) More LLV

Learn View the
Disabi|ity Exemption (up to $500) More La_W

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Property DeQHSeMSdeG¥%&B&@RpMSCHA Filed 04/11/19 Page 37 Of 38 Page 4 0f5

Learn _\//'eW tma

 

 

 

Totai and Permanent Disabiiity Exemption (amount varies) More Law
Learn \/iew the
Veteran's Disabiiity Exemption ($5000) ore Liv
Learn \/iew the
Veteran’s Totai and Permanent Disabi|ity Exemption (amount varies) More M
Learn i/i'ew tl_i__e
Veteran's Combat Related Disabiiity Exemption (amount varies) More _ng
_i_e_am View the
Depioyed Servicemember Exemption (amount varies) _Mle LLV
First Responder Totai and Permanent Disabi|ity Exemption (amount team i/iew the
varies) Mre La_W
Lea£v V_iew the
Surviving Spouse of First Responder Exemption (amount varies) M_or_e _i:_ay.{
Learn \_/iew the
Conservation Exemption (amount varies) More Law
Learn i/iew the
Tangibie Personai Property Exemption (up to $25.000) More La_n_/
Reiigious, Charitabie, institutiona|, and Organizationai Exemptions Learn i/iew the_
(amount varies) MQE La_W

Learn _\/_iew the
Economic Deveiopment Exemption More g_w

Learn fewth
Government Exemption (amount varies) More La_W

Exemption Savings o

The exemptions marked with a \/ above are providing a tax dollar savings of:

$0.00
Assessment Reduction information (3% cap, 10% cap, Agricuitura|,

Portabiiity, etc.)

This property is benefitting from the following assessment reductions with a
checkmark \/

Learn i(iew the

Save Our Homes Assessment Limitation (3% assessed Va|ue cap) More Law
L_earn View the
Save Our Homes Assessment Transfer (Portabiiity) More_ Ev_v_
Learn \//ew the
Non-Homestead Assessment Limitation (10% assessed value cap) MB Law
Learn \/iew the
Conservation Classitication Assessment Limitation More Law

 

Learn yiew the
Agricuiturai Ciassification More Law

 

Assessment Reduction Savings v

The assessment reductions marked with a \/ above are providing a tax dollar
savings of: $0.00

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Property DeQHSeHMMy%®MRpMQL4 Filed 04/11/19 Page 38 Oi 38 Page 5 Of5

NOTE: infom\atian on this Property Reco.rd Card is conipiied and used by the Lake County Property r\ppraiser !'ur the su§e purpose uf ad valorem property tax
assessment administration in accordance wiih the Florida Cons|ltution, Statules and Administraiive Code The take County Property )\poraiser makes no
representations or warranties regarding the completeness and accuracy at the data herein, its use ar interpretation the lee or t)enel'n:ia|ieqn§labie title ownership or
encumbrances of the property, and assumes no liability associated with its use or misuse See the posted §it_et;io_tii;_q

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Property data last updated on March 24: 2019.
Site Notice

http ://WWW.lakecopropappr. com/property-detaits.aspx?AltKey=t 5 9721 8 3/28/2019

